           Case 1:16-cv-01520-LTS Document 54 Filed 03/09/17 Page 1 of 12



 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------x

 GRACE PARK, individually and on behalf of
 all others similarly situated,

                  Plaintiffs,

         -v-                                                     No. 16 CV 1520-LTS

 FDM GROUP (HOLDINGS) PLC and FDM
 GROUP, INC.

                  Defendants.

 -------------------------------------------------------x


                                    MEMORANDUM ORDER AND OPINION

                  Plaintiff Grace Park (“Plaintiff”) brings this collective and class action against

 FDM Group (Holdings) PLC and FDM Group, Inc. (collectively, “FDM” or “Defendants”) both

 individually and collectively, on behalf of putative members who were “FDM Trainees” or

 “FDM Consultants.” Plaintiff asserts claims for minimum wage and overtime violations under

 the Fair Labor Standards Act (“FLSA”) and claims for minimum wage, overtime, gap time and

 record-keeping violations under the New York Labor Law (“NYLL”).

                  Defendants have moved, pursuant to Federal Rule of Civil Procedure 12(b)(6), to

 dismiss the First Amended Complaint (“FAC”), which was filed after Plaintiff had an

 opportunity to consider Defendants’ arguments for dismissal, for failure to state a claim. The

 Court has subject matter jurisdiction of the action pursuant to 28 U.S.C. §§ 1331, 1337, and

 1367. The Court has reviewed thoroughly the submissions of all parties with respect to the

 motion to dismiss. For reasons stated below, Defendants’ motion to dismiss is granted.




PARK.MTD.WPD                       VERSION MARCH 9, 2017                                               1
          Case 1:16-cv-01520-LTS Document 54 Filed 03/09/17 Page 2 of 12



                                           BACKGROUND

                The following facts are taken from the FAC, or from documents relied upon by

 the FAC, and are assumed to be true for the purposes of this motion practice.

                FDM’s main business activities involve recruiting and training individuals

 (“Trainees”) in information technology related skills, and placing the individuals with FDM’s

 institutional clients (“FDM Consultants”) across a range of technical and business disciplines.

 (See FAC ¶¶ 7, 18, 21, 23.) Plaintiff was a Trainee from August 2014 to around October 2014,

 and signed a Training Agreement on June 30, 2014, which set forth the terms of her relationship

 with FDM during her training period. (See id. ¶ 5; Ascher Decl. Ex. A, “Training Agmt,” docket

 entry no. 29-1.) The Agreement provides that “nothing in this Agreement shall give rise to a

 relationship of employee and employer between you and FDM, or between you and an FDM

 client with whom you may be on Placement. To the extent that we choose to offer any work to

 you for a Placement, such matters will be set out in an employment contract and separate

 documentation.” (Id. at 4.) Although the value of the training program as specified in the

 Training Agreement is up to $30,000, the Trainee is not responsible for paying for any of the

 training unless he or she breaches the trainees’ obligations laid out by the Training Agreement,

 principally the successful completion of the training program and cooperation with placement

 efforts by FDM. (See id.) The Training Agreement permits termination by the Trainee, with no

 obligation to pay any costs, within 14 days of the date of the Training Agreement or if the

 Trainee is not placed with an FDM client for the first 90 days after “sign-off” of completion of

 the training. (Id.) The training itself lasts between two and six months, and “consists of

 foundation training followed by a specialized training program,” and teaches Trainees to

 “perform professional business and IT consultancy” for FDM’s clients. (FAC ¶¶ 25-27.) During


PARK.MTD.WPD                  VERSION MARCH 9, 2017                                                 2
           Case 1:16-cv-01520-LTS Document 54 Filed 03/09/17 Page 3 of 12



 her training period, Plaintiff participated in classroom and practical skill development training,

 as did all of the other trainees. (Id. ¶ 34.)

                 Following the completion of her training, Plaintiff was placed as an FDM

 Consultant at a financial institution for a two-year placement term. (Id. ¶ 22.) Plaintiff signed

 an “Employment Agreement,” dated October 20, 2014, between herself and FDM Group. (Id. ¶¶

 16, 42; Ascher Decl. Ex. B, “Employment Agmt,” docket entry no. 29-2.) All FDM Consultants

 were classified as W2 employees of FDM. (FAC ¶ 41.) As an FDM Consultant, Plaintiff was

 paid according to a hybrid compensation structure, which included a base pay of $23,000 for the

 first year (or $1916.67 per month) and a daily bonus of $88.00 if she worked a full 8-hour day,

 and a half-day bonus of $44.00 if she worked at least four hours. (Id. ¶¶ 47-48, 50.) The FAC

 does not proffer any information as to whether and to what extent Plaintiff was paid daily bonus

 compensation. Plaintiff’s Employee Agreement provides that, if an FDM Consultant does not

 complete the minimum two-year commitment, the Consultant must pay a Termination Fee of

 $30,000 if the Consultant leaves employment within the first year, and $20,000 in the event the

 Consultant leaves employment in the second year. (See Employment Agmt.) Plaintiff resigned

 from her FDM Consultant position shortly before the start of her second year, and paid a

 Termination Fee of $20,000 shortly after resigning. (FAC ¶ 60.)

                 Plaintiff also alleges that, “[d]uring her employment,” she informed her “FDM

 supervisor” that she was regularly working over forty hours per week and was informed that,

 unless her placement manager approved, she was ineligble for overtime pay. (Id. ¶ 44.) Plaintiff

 had emailed her account manager that she “arrives at work ‘by 8:30 am’ and gets out ‘around

 6:45-7:15 pm’” and further stated that she “‘quite frequently’ had to work on weekends and that

 she was not “able to even have a one hour lunch break [unpaid]. . . .” (Id. ¶ 45.) The FAC offers


PARK.MTD.WPD                    VERSION MARCH 9, 2017                                                 3
          Case 1:16-cv-01520-LTS Document 54 Filed 03/09/17 Page 4 of 12



 no other specific allegations regarding the hours Plaintiff worked or her work schedule. The

 quoted email, dated February 7, 2015, and in the record as an exhibit in connection with

 collective action certification motion practice, indicates that the arrival/departure schedule

 described applied “4 out of 5 days a week.” (Docket entry no. 22-11 at 3.)


                                             DISCUSSION

                On a motion to dismiss for failure to state a claim pursuant to Rule 12(b)(6), “a

 complaint must contain sufficient factual matter, accepted as true, to state a claim to relief that is

 plausible on its face. A claim has facial plausibility when the plaintiff pleads factual content that

 allows the court to draw the reasonable inference that the defendant is liable for the misconduct

 alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl. Corp. v. Twombly, 550

 U.S. 544, 556, 570 (2007)) (internal quotation marks omitted).



 Claims for Wages During Training Period

                Defendants move to dismiss Counts 3 and 4 (failure to pay minimum wage as to

 Trainees) on the basis that Plaintiff was not an “employee” subject to the requirements of the

 FLSA (or the NYLL) while she was a trainee with the FDM Training Academy. It almost goes

 without saying that the requirements of the FLSA, including payment of minimum wages, apply

 only to employees. See Glatt v. Fox Searchlight Pictures, Inc., 811 F.3d 528, 533-34 (2d Cir.

 2016). The Second Circuit has instructed courts to use a “primary beneficiary test,” derived

 from precedents involving trainees and interns, that considers a number of “non-exhaustive”

 factors, to determine whether an individual, such as an intern, is an employee. See id. at 536-




PARK.MTD.WPD                   VERSION MARCH 9, 2017                                                      4
           Case 1:16-cv-01520-LTS Document 54 Filed 03/09/17 Page 5 of 12



 38.1 Any such inquiry is “high context-specific” and requires consideration of the “totality of

 circumstances,” to determine, given the economic reality of the relationship, who was “the

 primary beneficiary of the relationship.” Id. at 535-36. In the trainee context specifically, in

 applying the Glatt test, courts have considered, among other factors, whether: (1) the trainees

 replace regular employees, (2) the trainees have an expectation of compensation, (3) the training

 sessions are similar to ones offered in vocational school, and (4) whether the employer received

 an immediate advantage from the trainees’ work. Warman v. Am. Nat’l Standards Inst., No. 15

 CV 5486, 2016 WL 3647604, at *4 (S.D.N.Y. Jun. 27, 2016) (citing Glatt, 811 F.3d at 536).

                The Court reviews Plaintiff’s allegations concerning her Trainee status in light of

 these factors in determining whether she has pleaded plausibly that she was an employee entitled

 to minimum wages during her Trainee period. Plaintiff’s relationship as a trainee with FDM was

 governed by the Training Agreement she signed. (Ascher Decl. Ex. A.) The Training

 Agreement explicitly provides that “nothing in this Agreement shall give rise to a relationship of

 employee and employer between you and FDM, or between you and an FDM client with whom

 you may be on Placement. To the extent that we choose to offer any work to you for a


       1
               The Glatt Court enumerated the following non-exhaustive factors as relevant to the
               evaluation of unpaid internships: (1) the extent to which the intern and the employer
               clearly understand that there is no expectation of compensation; (2) the extent to
               which the internship provides training that would be similar to that which would be
               given in an educational environment, including the clinical and other hands-on
               training provided by educational institutions; (3) the extent to which the internship
               is tied to the intern’s formal education program by integrated coursework or the
               receipt of academic credit; (4) the extent to which the internship accommodates the
               intern’s academic commitments by corresponding to the academic calendar; (5) the
               extent to which the internship’s duration is limited to the period in which the
               internship provides the intern with beneficial learning; (6) the extent to which the
               intern’s work complements, rather than displaces, the work of paid employees while
               providing significant educational benefits to the intern; and (7) the extent to which
               the intern and the employer understands that the internship is conducted without
               entitlement to a paid job at the conclusion of the internship. 811 F.3d at 536-37.
PARK.MTD.WPD                  VERSION MARCH 9, 2017                                                   5
          Case 1:16-cv-01520-LTS Document 54 Filed 03/09/17 Page 6 of 12



 Placement, such matters will be set out in an employment contract and separate documentation.”

 (Id. at 4.) Plaintiff has not alleged that she received compensation, nor that she had an

 expectation of compensation during her training. The Agreement thus dispels any inference of

 an expectation on Plaintiff’s part that she would receive compensation as a Trainee. Nor does

 the FAC plead facts indicating that FDM Trainees replace paid employees. To the contrary, the

 Agreement makes it clear that they are trained for placement at a separate client site after the

 training is complete. (See FAC ¶¶ 28, 31.) Although the stated value of the training program is

 up to $30,000 ($75 per unit), the Trainee is not responsible for paying any training cost unless he

 or she breaches the trainees’ obligations laid out by the Agreement, principally the successful

 completion of the training program and cooperation with placement efforts thereafter. (Id.) The

 Agreement permits termination by the Trainee, with no obligation to pay any costs, within 14

 days of the date of the Training Agreement or if the Trainee is not placed with an FDM client for

 the first 90 days after “sign-off” of completion of the training. (Id.) The training, which

 consisted of classroom and practical skill development training, was designed to teach the

 Trainees to perform professional, business and IT consultancy work. (Id. ¶¶ 27, 34.) The

 training, as described in the Complaint, resembles what would be offered at a vocational school,

 “including the clinical and other hands-on training provided by educational institutions,” Glatt,

 811 F.3d at 537, providing skills that are marketable beyond any particular FDM client. None of

 these factors is indicative of employee status; Plaintiff has not pleaded facts that would support a

 reasonable inference that she was an FDM employee during the training period. All point to the

 Trainee as the primary beneficiary of the training period agreement.

                Plaintiff alleges, in a conclusory manner, that she was “required to agree to the

 terms of both a Training Agreement and an Employment Agreement as a condition of her


PARK.MTD.WPD                  VERSION MARCH 9, 2017                                                     6
           Case 1:16-cv-01520-LTS Document 54 Filed 03/09/17 Page 7 of 12



 employment with FDM” and contends that her training period was “post-hire” because it was

 done after a full interview and assessment and after a signed “contract outlining the terms of

 [her] employment with FDM.” (See FAC ¶ 16; Pl. Opp. at 5.) The employment-related aspects

 of these allegations are inconsistent with the plain terms of the relevant documents and thus are

 not plausible. The Training Agreement explicitly stated that it was not an employment

 agreement, and that it did not guarantee actual job placement. (See Training Agmt at 4.)

 Plaintiff did not sign an Employment Agreement until October 2014, after she had completed her

 training. (FAC ¶ 5; Employment Agmt.) Plaintiff has not pleaded plausibly that she was an

 employee within the meaning of the FLSA or the NYLL during the training period. Her causes

 of action for minimum wage during that period therefore fail to state claims upon which relief

 may be granted. Accordingly, Counts 3 and 4 are dismissed.



 Claims Related to Compensation as an FDM Consultant

 1.             Minimum Wage Claims (Counts 5 and 6)

                Defendants move to dismiss Plaintiff’s minimum wage claim, arguing that her

 hourly pay2 was actually above minimum wage. Plaintiff was allegedly paid $1,916.67 per

 month (or roughly $23,000 per year) in basic pay, plus various bonuses. Even without taking

 into account the bonuses, the base rate of pay provides more than $11 per hour, exceeding the

 federal minimum wage of $7.25 per hour and the New York minimum wage of $8.75 per hour.


       2
               Defendants treated the consultants as exempt employees, but recognize in the
               context of this motion practice that, since the “claim of exemption under the FLSA
               is an affirmative defense,” Plaintiff is not required at this stage to support her
               position that she was non-exempt employee. Dejesus v. HF Mgmt. Servs., LLC,
               726 F. 3d 85, 91 n.7 (2d Cir. 2013). “The employer bears the burden of proof in
               making such a claim” that the plaintiff was exempt. Id. The Court assumes, for
               purposes of this motion practice that Plaintiff was a non-exempt employee.
PARK.MTD.WPD                  VERSION MARCH 9, 2017                                                  7
          Case 1:16-cv-01520-LTS Document 54 Filed 03/09/17 Page 8 of 12



 (See FAC ¶¶ 47-48, 50.) Plaintiff, however, claims that the $20,000 termination fee she was

 required to pay back to FDM pursuant to the Employment Agreement amounted to an illegal

 “kick-back,” 29 C.F.R. ¶ 531.32(2), the deduction of which would reduce her net wages below

 the required minimum wage. (Pl. Opp. 8-9.)

                Under the FLSA, “wages cannot be considered to have been paid by the employer

 and received by the employee unless they are paid finally and unconditionally or free and clear.

 The wage requirements of [the FLSA] will not be met where the employee kicks-back directly or

 indirectly to the employer or to another person for the employer’s benefit the whole or part of the

 wage delivered to the employee.” 29 C.F.R. § 531.35 (internal quotation marks omitted).

 Therefore, “if an expense is deducted from an employees paycheck . . . or the employee is

 required to purchase [an] item at [her] own expense, and the cost of the item reduces the

 employee’s wage in any workweek below the minimum wage, the expense will be considered a

 ‘kickback,’ and the employer will have violated the FLSA.” Salazar Martinez v. Fowler Bros.,

 781 F. Supp. 2d 183, 191 n.5 (W.D.N.Y. 2011); see also Guan Ming Lin v. Benihana Nat’L

 Corp., 755 F. Supp. 2d 504, 511 (S.D.N.Y. 2010) (“[I]f it is a requirement of the employer that

 the employee must provide tools of the trade which will be used in or are specifically required

 for the performance of the employer's particular work, there would be a violation of the [FLSA]

 in any workweek when the cost of such tools purchased by the employee cuts into the minimum

 or overtime wages required to be paid him under the [FLSA].”) Courts have generally found

 deductions for “tools of the trade” such as uniforms, vehicles and other costs that are specific

 business expenses of the employer, and that are primarily for the benefit of the employer, to be

 “kickbacks.” See He v. Home on 8th Corp., No. 09 CV 5630, 2014 WL 3974670, at *9

 (S.D.N.Y. Aug. 13, 2014).


PARK.MTD.WPD                  VERSION MARCH 9, 2017                                                    8
          Case 1:16-cv-01520-LTS Document 54 Filed 03/09/17 Page 9 of 12



                As an initial matter, the Court notes that Plaintiff has not alleged that she was

 subjected to any deduction from her paychecks for the Termination Fee. She merely alleges that

 she paid the fee after her employment terminated. Moreover, even assuming that the amount of

 the Termination Fee, when subtracted from the compensation Plaintiff earned as a consultant,

 would result in a net figure below the aggregate minimum wage for the consulting period,

 Plaintiff has not alleged facts that would support a finding that the fee constituted an illegal

 kickback. The Termination Fee is characterized in the Employment Agreement as liquidated

 damages approximating the damages FDM suffered by reason of breach of the Employment

 Agreement prior to the completion of the two-year contracted period. The Employment

 Agreement includes the consultant’s acknowledgment that the Company incurred significant

 costs in training the employees and that the two-year term was contracted in consideration of

 such costs. (Ascher Decl. Ex. B.) The $30,000 maximum fee corresponds to the maximum

 value of the training, as set forth in the Course Description schedule to the Training Agreement.

 (Ascher Decl. Ex. A at 10.) It is not a deduction for tools used or costs incurred in the course of

 Plaintiff’s performance of her job as a consultant. Indeed, if Plaintiff had performed the full two

 years of her contract, she would not have had to pay anything back at all. Such liquidated

 damages provisions in employment agreements are not unusual, and even those that are

 explicitly tied to repayment of the costs of a training program have been upheld as akin to loan

 repayment provisions. See Gordon v. City of Oakland, 627 F.3d 1092, 1096 (9th Cir. 2010)

 (finding City was free to seek repayment of training debt for police training when officer left

 before five-year time period specified for loan forgiveness); Heder v. City of Two Rivers,

 Wisconsin, 627 F.3d 777, 783 (7th Cir. 2002) (finding repayment provision to be valid).

 Accordingly, Plaintiff’s consultancy minimum wage claims (Counts 5 and 6) are dismissed.


PARK.MTD.WPD                   VERSION MARCH 9, 2017                                                   9
         Case 1:16-cv-01520-LTS Document 54 Filed 03/09/17 Page 10 of 12



 2.             Overtime Wage Claims (Counts One and Two)

                Plaintiff also asserts claims for unpaid overtime wages for the consultancy period

 under the FLSA (Count 1) and NYLL (Count 2), the latter of which parallels FLSA

 requirements. DeJesus v. HF Mgmt. Servs., LLC, 726 F.3d 85, 89 n.5 (2d Cir. 2013).

                In order to state a plausible FLSA overtime claim, a plaintiff must “sufficiently

 allege 40 hours of work in a given workweek as well as some uncompensated time in excess of

 the 40 hours,” which would then entitle the employee to time-and-a-half for excess hours over

 forty in a particular week. See Lundy v. Catholic Health Sys. of Long Island Inc., 711 F.3d 106,

 114 (2d Cir. 2013) (citing 29 U.S.C. § 207(a)(1).) “Plaintiffs must provide sufficient detail

 about the length and frequency of their unpaid work to support a reasonable inference that they

 worked more than forty hours in a given week.” Nakahata v. N.Y. Presbyterian Healthcare Sys.,

 Inc., 723 F.3d 192, 201 (2d Cir. 2013). In Lundy, for instance, one plaintiff brought a claim for

 overtime wages, alleging that she worked “five to six shifts” totaling between 37.5 and 45 hours

 per week, instead of a typical four shifts per week totaling 30 hours. Id. at 114. She also alleged

 that she was uncompensated for 30-minute meal breaks that were “typically” missed or

 interrupted and that she worked uncompensated time before scheduled shifts of “typically” 30

 minutes. See id. The Second Circuit concluded that the plaintiff failed to plead plausibly her

 claim for overtime pay under the FLSA because “she [did] not allege that she was denied

 overtime pay in a week where she worked [the] additional shifts” and her allegations concerning

 uncompensated time “invited speculation.” Id.; see also Nakahata, 723 F.3d at 201 (allegations

 that plaintiffs were uncompensated for work during meal breaks, during trainings, and

 before/after shifts failed to plausibly state a claim that plaintiffs worked more than 40 hours in a

 given week).


PARK.MTD.WPD                   VERSION MARCH 9, 2017                                                    10
         Case 1:16-cv-01520-LTS Document 54 Filed 03/09/17 Page 11 of 12



                Plaintiff’s general allegations here fail to plead sufficiently that she worked more

 than 40 hours in any given week. She alleges in a conclusory fashion that she “regularly”

 worked over 40 hours and notes that she once “emailed her account manager . . . that she arrives

 at work ‘by 8:30am’ and gets out ‘around 6:45-7:15pm,’ . . . ‘quite frequently” had to work on

 weekends and that she was not “able to even have a one hour lunch break . . . .” (FAC ¶¶ 44-45.)

 Plaintiff’s general allegations merely invite speculation. She does not allege that she was

 actually working during all of the hours she allegedly spent at the job site and, as noted above,

 the email message stated that the schedule described applied “4 out of 5 days a week.” (Docket

 entry no. 22-11 at 3.) Such scant and imprecise information is insufficient to permit the Court to

 make a calculation demonstrating that Plaintiff worked more than forty hours in any week of her

 FDM employment. Accordingly, Plaintiff’s claims for overtime wages under the FLSA and

 NYLL (Counts 1 and 2) are dismissed.



 Additional State Law Claims

                In light of the dismissal of all of Plaintiff’s federal claims the Court declines,

 pursuant to 28 U.S.C. § 1367(c), to exercise supplemental jurisdiction of any remaining state

 claims. Kolari v. New York-Presbyterian Hosp., 455 F.3d 118, 122 (2d Cir. 2006).

 Furthermore, Plaintiff’s “declaratory judgment” claim (Count 11), is dismissed to the extent it is

 predicated on Plaintiff’s federal claims, as she has not pleaded any facts plausibly supporting any

 substantive federal claim.



                                            CONCLUSION

                For the foregoing reasons, Defendants’ motion to dismiss the FAC is granted. In


PARK.MTD.WPD                  VERSION MARCH 9, 2017                                                    11
          Case 1:16-cv-01520-LTS Document 54 Filed 03/09/17 Page 12 of 12



 light of the dismissal of the case, Plaintiff’s motion for conditional certification and notice is

 deemed moot. This Memorandum Opinion and Order resolves docket entry numbers 21 and 27.

 The Clerk of the Court is requested to enter judgment accordingly and close this case.



                SO ORDERED.



 Dated: New York, New York
        March 9, 2017

                                                                 /s/ Laura Taylor Swain
                                                                LAURA TAYLOR SWAIN
                                                                United States District Judge




PARK.MTD.WPD                   VERSION MARCH 9, 2017                                                  12
